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                         EXHIBIT C
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                                                          Survey of Washington
                                                          DC Registered Voters
                                                          on Opinions
                                                          Concerning the
                                                          January 6, 2021 Even
                                                          at the Capitol Buildin
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Methodology
 survey of 400 Washington DC registered voters regarding their opinions about the January 6, 202
 events at the Capitol building and sources of media about such events.
 The margin of error for the sample of 400 DC registered voters is +/- 5 percentage points from a
 universe of emails of such registered voters.
 Each invitation for this survey was password coded and secured so the IP addresses were not
 tracked as well as to prevent each respondent from taking the survey more than once. Subsets o
 the data have a larger margin of error than the whole data set.
 While additional factors can create error, such as question wording and question order, JZS took
 steps to reduce such error. Slight weights were applied to age and race to more closely reflect the
 population of those aged 60 and above.
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Executive Summary/Analysis of Overall Findings
Washington, DC does not appear to be a hospitable venue for a fair trial of Mr. Garcia for his alleged involvement in the events at the Capitol on January 6, 2021.
   Q6. Greater than 9 in 10 respondents (95%) said they have overall familiarity (very and somewhat combined) with the January 6, 2021 events at the Capitol; and
   more than two-thirds (67%) of whom stated they are very familiar with these events.
   Q7. A majority (54%) of the sample responded that national media sources were more responsible in shaping views about the events in question. Just under 4 ou
   of 10 respondents (39%) said local news sources were more instrumental.
   Q8. Just under 2 in 3 respondents (66%) agreed that the January 6, 2021 events posed a dire threat to our nation and democracy (Statement A); this same
   opinion held by both age groups above 50 years old (50 64 and 65+ years of age) rose above three-fourths of respondents (75.1% and 78%, respectively).
    Q9. Nearly 3 out of 4 respondents (73%) believe that any individual who was inside the Capitol on January 6, 2021 should be convicted of insurrection.
    Q10. Seven in 10 respondents (70%) stated they are familiar with the Proud Boys organization. This figure climbed to 8 in 10 (78%) among 30 49 year-old
   respondents.
   Q11. When asked their opinion of the Proud Boys, over two-thirds of respondents (68%) said they hold an overall unfavorable (very and somewhat combined)
   opinion, with a clear majority (60%) who expressed a very unfavorable opinion.
   Q12. Meanwhile, greater than a majority of those familiar with the Proud Boys (54%) expressed familiarity with Gabriel Garcia, with many fewer approximately
   one-third (34%) having said they are unfamiliar.
   Q13. Close to 9 out of 10 respondents (88%) who are familiar with Mr. Garcia, felt that if he were shown to have been inside the Capitol building on January 6
   2021 he should be convicted of obstruction of justice and civil disorder. And just about two-thirds of these respondents (65%) said this view of theirs is more
   attributable to national media than local media sources (Q14).
   (Keep in mind that 54% of all respondents stated that national media sources were more instrumental in shaping their views of the January 6, 2021 events at
   the Capitol [Q7].)
   Q15. Seven out of 10 (70%) respondents believe that ANYONE who went inside the Capitol building that day were trying to stop the certification of the Electoral
   College vote for president. And almost two-thirds (64%) of respondents believe that despite not personally committing acts of vandalism or violence, an individua
   could still be held responsible for such serious crimes assuming they went inside the building that day (Q16).
   Q17. More than one-third respondents who said yes to Q16 (35%) stated the reason for holding such a view was because they believe that ANYONE who entered
   the building that day is guilty of such acts (Statement A). While greater than 6 in 10 respondents (62%) stated they hold such a belief because just being inside
   regardless of personal commission means they were involved in planning or orchestrating the events (Statement B).
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